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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )            Case No. CR06-26-RSL-JPD
                                          )
10         v.                             )
                                          )
11   LIBAN FARAH ALI,                     )            DETENTION ORDER
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offenses charged:

15          Count 1: Conspiracy to Distribute Cocaine Base in violation of 21 U.S.C. §§ 841(a)(1),

16 and 841(b)(1)(A), and 846.

17          Counts 22 through 25: Distribution of Cocaine Base in violation of 21 U.S.C. §§

18 841(a)(1), 841(b)(1)(B), and 841(b)(1)(C).

19 Date of Detention Hearing: February 15, 2006.

20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

22 the following:

23         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

25 is a flight risk and a danger to the community based on the nature of the pending charges.

26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (2)     There is little, if any, verifiable information and evidence of defendant’s

02 residence or income.

03          (3)     There is little that ties defendant to this community or to the Western District of

04 Washington

05          (4)     Defendant has had past substance-abuse issues, and it appears that those problems

06 are ongoing.

07          (5)     The Assistant United States Attorney proferred a prior police report indicating

08 that firearms were present when defendant was previously arrested for drug-related activity.

09          (6)     It is alleged that defendant is associated with the East African Posse street gang,

10 which is reported to be involved heavily in criminal activity, including violent activity. This is

11 part of the conspiracy charge in the first count of the indictment.

12          (7)     Defendant’s instant charges are serious offenses, and he faces a mandatory

13 minimum sentence if convicted.

14          (8)     There are no conditions or combination of conditions that will reasonably assure

15 the appearance of defendant as required, or the safety of the community

16          IT IS THEREFORE ORDERED:

17          (1)     Defendant shall be detained pending trial and committed to the custody of the

18                  Attorney General for confinement in a correction facility separate, to the extent

19                  practicable, from persons awaiting or serving sentences or being held in custody

20                  pending appeal;

21          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

22                  counsel;

23          (3)     On order of a court of the United States or on request of an attorney for the

24                  government, the person in charge of the corrections facility in which defendant

25                  is confined shall deliver the defendant to a United States Marshal for the purpose

26                  of an appearance in connection with a court proceeding; and

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04               DATED this 15th day of February, 2006.



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                                                       JAMES P. DONOHUE
07                                                     United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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